     Case 2:19-cv-06503-JFW-MAA Document 24 Filed 12/13/19 Page 1 of 2 Page ID #:145

1     Amy L. B. Ginsburg (275805)
2
      Kimmel & Silverman, P.C.
      30 East Butler Pike
3     Ambler, PA 19002
      Telephone: 215-540-8888
4
      Facsimile: 215-540-8817
5     teamkimmel@creditlaw.com
      Attorney for Plaintiff
6

7                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
8

9
      YVETTE GALLARDO,                        §
                                              §
10                 Plaintiff,                 §     Civil Action No. 2:19-cv-06503-JFW-
                                              §     MAA
11                  v.                        §
12    CAPITAL ONE, N.A.,                      §
                                              §
13                                            §
                   Defendant.
14                                            §
                                              §
15

16
                                NOTICE OF SETTLEMENT
17
      TO THE CLERK:
18
      NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
19
      reached settlement. The parties anticipate filing a stipulation of dismissal of this
20
      action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.
21

22
      Dated: December 13, 2019                By: /s/ Amy L. B. Ginsburg
23                                              Amy L. B. Ginsburg, Esquire
                                                Kimmel & Silverman, P.C.
24
                                                30 E. Butler Pike
25                                              Ambler, PA 19002
                                                Phone: (215) 540-8888
26                                              Fax: (877) 788-2864
27                                              Email: aginsburg@creditlaw.com

28                                            -1-

                                       NOTICE OF SETTLEMENT

                                                                          2:19-cv-06503-JFW-MAA
27
     Case 2:19-cv-06503-JFW-MAA Document 24 Filed 12/13/19 Page 2 of 2 Page ID #:146

1

2
                             CERTIFICATE OF SERVICE
3
                  I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and
4

5     correct copy of the Notice of Settlement in the above-captioned matter, upon the
6
      following via CM/ECF system:
7
                                     Marcos D. Sasso, Esquire
8                                       Ballard Spahr, LLP
9
                                 2029 Century Park East, Suite 800
                                     Los Angeles, CA 90067
10                                  sassom@ballardspahr.com
                                      Attorney for Defendant
11

12

13
      Dated: December 13, 2019              By: /s/ Amy L. B. Ginsburg
14                                            Amy L. B. Ginsburg, Esquire
15
                                              Kimmel & Silverman, P.C.
                                              30 E. Butler Pike
16                                            Ambler, PA 19002
                                              Phone: (215) 540-8888
17
                                              Fax: (877) 788-2864
18                                            Email: aginsburg@creditlaw.com
19

20

21

22

23

24

25

26

27

28                                          -2-

                                     NOTICE OF SETTLEMENT

                                                                      2:19-cv-06503-JFW-MAA
27
